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I
INTERNATIONAl CRIMINAL COURT AGAINST CHILD KIDNAPPING
PROTECTING & ENFORCING fHE HUH"N AUiHTS OF THE CHILD
                                                                                 The Netherlands· ·
                                                                                 Tel: +31-70-800-2b9gHY
                                                                                 Fax: +31-70-808-0254
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                                                                                 Email: admln@childabductioncourt.eu
UNITED STATES DISTRICT COURT
DISTRICT OF UTAH
351 South West Temple, Rm. 1.100
Salt Lake City, Utah 84101

                                       IN THE UNITED STATES DISTRICT COURT


                                                        DISTRICT OF UTAH
                                                        Case No. 2:19-cv-00245
                                                          Judge Dee Benson


            Stephan Schurmann,

            Plaintiff,

            vs.
            Bradley Carr, et. al.


            Defendants,



               PLAINTIFF MOTION TO STRIKE DEFENDANT's CARR PLEADING FOR
                                MOTION TO DISMISS FOR FRAUD ON THE COURT


            COME NOW the Plaintiff, STEPHAN SCHURMMAN, and move this Honorable Court
            for an order striking Defendant's pleadings, entering default, striking defenses, or such
            other relief as the Court deems appropriate for fraud upon the Court, discovery providing
            wrong information of material evidence, and as grounds therefore state as follows:
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                                           INTRODUCTION


       Plaintiff seeks sanction against Defendant on the grounds that Defendant has engaged in
       deception and attempted fraud upon the Court, by giving false statements by his none
        participation individually and as part of a conspiracy, did knowingly, intentionally and
        maliciously committed the overt act of extortion against the Plaintiff in fmiherance of the
        conspiracy to inflict emotional distress.


        Further, the actions of the defendants have deprived the Plaintiff of his custodial rights to
        his only born son, DSS. Defendant Anqui is actively involved in criminal custodial
        interference by a non-custodial parent.


        Further, the Defendants, individually and severally, took actions to harass, threaten and
        intimidate Plaintiff electronically in violation of Utah civil and criminal code Section 76-
        6-406 (Title 76 Utah Statutes) defines Extortion:


                                             BACKGROUND
        Plaintiff Schurmann and Defendant Anqui married in 2007 and in 2008 had a son, D.S.S.,
        while residing in the Country of Spain. In 2010, Plaintiff came to the United States with
        his family. They entered the U.S. legally on a temporary E-2 Entrepreneur Visa after Mr.
        Schurmann invested nearly $1 million in a construction business. The family settled in
        Birmingham, Alabama.


        Unfortunately, during the severe economic downturn, the construction business in
        Alabama failed, and the family relocated to the Florida Panhandle to pursue more
        opportunities and try to sell the factory equipment and machinery to recover the losses of
        the business.


        One of those opportunities came in Pennsylvania, where Mr. Schurmann spent several
        weeks trying to sell his factory equipment and machinery and ultimately to return to
        Marbella, Spain, the legal domicile of the family. In his absence, Anqui began an
        adulterous affair with Tedrick.




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        Anqui initiated divorce proceedings in Okaloosa County Florida Circuit Court in
        December, 2014. In February 2015 and before the proceedings were complete - it's
        important to note that Mr. Schurmann returned immediately to Marbella, Spain to the
        family's legal domicile to file a Petition under The Hague Convention for the wrongful
        retention of his child.


        While in Utah, Defendants Anqui and Tedrick began a campaign of harassment, threats,
        emotional abuse and extortion designed to deprive Plaintiff of the custodial rights to his
        own son. Additionally, Defendants concocted and executed a scheme to extort several
        hundred thousand dollars from Plaintiff.


        In 2017, Anqui and Tedrick hired defendant Bradley Carr, a Utah attorney. Carr, in his
        role as attorney and under the Color of his authority as a Utah attorney, joined the
        conspiracy and conducted his own campaign of threats, extortion and intimidation.


               SUMMARY OF DEFENDANTS' MISCONDUCT AND DECEPTION


        On 17th May 2019 Defendant Carr pleaded a Motion to Dismiss him from the matter in
        stake before your honorable bench, on the following grounds that we quote:

        "Res Judicata. These issues are res judicata. Stephen is essentially attempting to sue
        Bradley Carr, Jubilie 's agent, for the same claims for which he successfully defended her.
        Intentional Infliction of Emotional Distress. The complaint merely, copies the


        Model Jury Instructions and makes the conclusory statement that "Defendants clearly
                                                                            11
        and unequivocally meet each and every standard of proof ..               The only overt act
        specifically alleged in the complaint was an email to the Plaintifffrom Bradley indicating
        that Bradley would represent Jubilie in her requested adoption free of charge if he did
        not stop the harassment. The harassment stopped, therefore, Bradley did not pursue the
        adoption pro bona. At any rate, indicating a lawful course of action that will be taken
        (i.e. offering to represent a client pro bona) if harassment did not stop does not meet the
        elements as a matter of law.




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        Extortion. The complaint provides no legal basis for a civil claim of extortion. It merely
        cites to the Utah Criminal Code. This is not a criminal matter and the complaint provides
        no bases for civil liability on the criminal statute.

        Harassment. The complaint provides no statements ofthe elements ofthis cause ofaction.
        It merely says Plaintiff is suing for harassment, then immediately starts making
        allegations related to Intentional Infliction of Emotional Distress. "

        Practically, he tries to surprise your honorable bench without any legal proof that could
        dismiss him from this lawsuit that he is been part of. Accordingly, to Ziccardi v. Stother
        the burden of proof it is develop during the process by acting all the proof pieces within
        the process : Although no Florida case has squarely addressed this issue, generally in
        Florida the burden ofproofis a procedural issue.See Walker LaBerge, Inc. v. Halligan,
        344 So.2d 239, 243 (Fla. 1977) ("Burden ofproofrequirements are procedural in nature.
        "); Ziccardi v. Strother, 570 So.2d 1319, 1321 (Fla.2d DCA 1990) (modification ofthe
        burden ofproofin a statute did not amount to substantive change in the law). This Court
        has explained, "[Slubstantive law prescribes duties and rights and procedural law
        concerns the means and methods to apply and enforce those duties and rights. "Alamo
        Rent-a-Car, Inc., v. Mancusi, 632 So.2d 1352, 1358 (Fla. 1994); see Benyard v.
        Wainwright, 322 So.2d 473, 475 (Fla. 1975). The burden ofproofclearly concerns the
        means and methods to apply and enforce duties and rights under a contract and we find
        no reason to depart from this general rule for conflict-of-laws purposes.


        He only merely paraphrases Plaintiff statements of facts without any legal support to
        proof his case in fact he only attached some irrelevant e-mails that has nothing to do with
        the core of the suit that he is part of. So, in this sense Defendant is lying before your
        honorable bench. Breaching (Defendant) sections 76-8-502 (False or inconsistent
        material and statements), and 76-8-506 (Providing false information to peace officers,
        government agencies or specified professionals) Utah Criminal Code.


        We must add that Defendant during the course of 2016 and into 2017, sent an extortive
        e-mail to Plaintiff (Exhibit A) that pointed:




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           "I will reach out to your ex wife in January and draw up papers free of charge to
           terminate your parental rights and have her new husband adopt your son," Attorney
           Carr, a member of the Utah Barr, wrote. "We will do a confidential name change and
           there would be no way of tracking down your ex the next time she moves. The entire
           process only takes me about 45 days. "


           WHEREFORE, Plaintiffs move this Honorable Court to strike Defendant's pleadings an
           enter default, or alternatively impose sanctions deemed appropriate by the Court, or
           alternatively find that presumptions of negligence against Defendant are appropriate at
           any trial of this matter.


           Further, Plaintiffs move this Court to conduct an evidentiary hearing to the extent the
           Court deems it necessary for a determination of these issues.

    Because I, Stephan Schurmann, are unable to travel to the United States to appear in person, I hereby
    appoint the

    International Criminal Court against Child Kidnapping (ICCACK) and the

    United States Criminal Tribunal against Child Kidnapping (USCTACK),
    With address at: 1717 Pennsylvania Avenue NW - Suite 1025, Washington, DC 20006

    And his employee, Attorney at Law:

    Mr. Giovanni Marotta, DOB 23/04/1977, an Italian Citizen with same legal address at 1717
    Pennsylvania Avenue NW - Suite 1025, Washington, DC 20006

    as my true and lawful Attorney-in-Fact to act in my name, place and stead, and on my behalf, and
    shall have full powers to represent me in regard to the above styled matter.

    At the same time, I revoke all powers of representation granted to Mr. John Holland 490 M Street
    SW Apt. W-503 Washington, D.C. 20024 in the following case to act in my name.


    IN WITNESS WHEREOF, I have executed this Affidavit, this 30th day of May 2019 in front of an
    ICCACK officer.




    Stephan Schurmann

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    Signed, Sealed and delivered in the presence of:




           I


    Giovanni Marotta - Attorney at Law
    International Criminal Court against Child Kidnapping
    & United States Criminal Tribunal Against Child Kidnapping

    The foregoing AFFIDAVIT was acknowledged before me this 30th day May 2019, by Stephan
    Schurmann, who has produced a German passport as identification.




                                       CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished,
           by e-mail this 3rd day of June 2019, to: Bradly Carr 10808 River Front Parkway, Suite
           175 South Jordan, Utah 84095 Bradly Carr email: brad@carrwoodall.com and U.S.
           Class First E-mail.




    Giovanni Marotta - Attorney at Law
    International Criminal Court against Child Kidnapping
    & United States Criminal Tribunal Against Child Kidnapping
    1717 Pennsylvania Avenue NW - Suite 1025, Washington, DC 20006



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                               UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH




          ELECTRONIC NOTICING REGISTRATION FORM




Unrepresented (pro se) parties may request electronic email notification and service of documents in
an active case filed in the District of Utah by filing a written motion with the court and attaching this
completed form to the motion.

Please review the rights you waive (listed below) by signing this form.

   Giovanni                                   Marotta

    Name- First         Middle                     Last


  1717 Pennsylvania Avenue NW - Suite 1025, Washington, DC 20006
                    Mailing Address


             Washington, DC 20006
                  City, State, Zip

            +1-202-559-9148 (Reception)


                  Telephone Number



Email Address(es):
Primary e-mail address: giovanni.marotta@childabductioncourt.org


Up to two additional e-mail addresses: 1) admin@childabductioncourt.eu


You must read, understand, and check all three boxes to receive e-mail notice in your cases


  X I understand that I will receive one 'free look' at each document for which I receive an emailed
 NEF (Notice of Electronic Filing). I should print and/or save this document at this time for future
 reference.
  X I understand that I may obtain a PACER login to retrieve documents that I have not
 printed out or saved. I may register online at http://www.pacer.gov.
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I XI understand I will receive email notices in all cases in which I am a participant or a party.




                                                            /
Date: 3rd Day ofJune 2019                    Signature: _ _ _ _ _ _ _ _ _ _ _ _ __


   Please mail this completed form to:

   United States District Court

   ATTN: CM/ECF Registration

    351 S. West Temple, Rm 1.100

   Salt Lake City, Utah 84101
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